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              EXHIBIT 5
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                                                                    Page 1

   1                     IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
   2                             ALEXANDRIA DIVISION
   3          ---------------------------:
              UNITED STATES, et al.,              :
   4                                              :
                             Plaintiff,           :
   5                                              :
                          vs.                     : Case No.:
   6                                              : 1:23-CV-00108-LMB-JFA
              GOOGLE, LLC,                        :
   7                                              :
                             Defendant.           :
   8          ---------------------------:
   9
 10
 11                   VIDEOTAPED DEPOSITION OF ALLEN OWENS, JR.
 12
 13           DATE:               September 28, 2023
 14           TIME:               9:36 a.m.
 15           LOCATION:           Paul, Weiss, Rifkind,
                                     Wharton & Garrison LLP
 16                               2001 K Street, Northwest
                                  Washington, D.C. 20006-1047
 17
              REPORTED BY:        Shari R. Broussard, RPR, CSR
 18                               Reporter, Notary
 19
 20
 21
 22           Job No. CS6118347

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                                                                Page 2                                                             Page 4
       1           APPEARANCES                                            1   DEFENDANT'S DEPOSITION EXHIBITS: *                 PAGE
       2   On behalf of Plaintiff:
                                                                          2   164 Plaintiff's Responses to Defendant
       3      CHASE PRITCHETT, ESQUIRE
              KATHERINE CLEMONS, ESQUIRE                                         Google LLC's Fifth Set of
       4      ALVIN CHU, ESQUIRE                                          3      Interrogatories to the United States   101
              U.S. Department of Justice
                                                                          4
       5      450 5th Street, Northwest
              Washington, D.C. 20530                                      5   PREVIOUSLY MARKED/REFERRED TO:
       6                                                                  6   55 Bates NAVY-ADS-241136 to 143
           On behalf of Defendant:
                                                                          7   60 Bates NAVY-ADS-28530 to 531
       7
             MARTHA L. GOODMAN, ESQUIRE                                   8
       8     LEAH HIBBLER, ESQUIRE                                        9
             Paul, Weiss, Rifkind,                                       10
       9      Wharton & Garrison, LLP
             2001 K Street, Northwest                                    11
      10     Washington, D.C. 20006-1047                                 12
             (202) 223- 7341                                             13
      11     mgoodman@paulweiss.com
                                                                         14
      12   ALSO PRESENT:
      13     Orson Braithwaite, Video Technician                         15
      14                                                                 16
      15
                                                                         17
      16
      17                                                                 18
      18                                                                 19
      19                                                                 20
      20
      21                                                                 21
      22                                                                 22   (* Exhibits attached to transcript.)

                                                                Page 3                                                             Page 5
       1            CONTENTS
                                                                          1
       2   EXAMINATION BY:                          PAGE
       3    Counsel for Defendant               6                         2              PROCEEDINGS
       4    Counsel for Plaintiff            105
       5                                                                  3           VIDEO TECHNICIAN: Good morning. We are
       6   DEFENDANT'S DEPOSITION EXHIBITS: *              PAGE           4   going on the record at 9:36 a.m. on
       7   154 Navy Communications with Attorneys       17
       8   155 e-mails Re: Award of M&A contract, Bates                   5   September 28th, 2023.
              NAVY-ADS-219026 to 173               27                     6           Please note that the microphones are
       9
           156 Amendment of Solicitation/Modification of                  7   sensitive and may pick up whispering, private
      10      Contract, No. 2, Bates NAVY-ADS-12880                       8   conversations. Please mute your phones at this
              to 925                     32
      11                                                                  9   time.
           157 e-mails Re: Navy Advertising Contract                     10           Audio and video recording will continue
      12      N00189-15-D-Z024, Bates NAVY-ADS-315296
              to 374                      40                             11   to take place unless all parties agree to go off
      13
                                                                         12   the record.
           158 e-mail from Uhlan to Owens, 7/15/22,
      14      Bates NAVY-ADS-72243                  61                   13           This is Media Unit 1 of the
      15   159 Digital Media Bill, Oct-22, Bates
              NAVY-ADS-374151 to 171                 67                  14   video-recorded deposition of Mr. Allen Owens in
      16                                                                 15   the matter of United States, et al., versus
           160 Digital Medial Bill, Nov-22, Bates
      17      NAVY-ADS-373978 to 4145                77                  16   Google, LLC, filed in the United States District
      18   161 Digital Medial FY19 Q3 Refund, Bates                      17   Court, Eastern District of Virginia, Alexandria
              NAVY-ADS-5844                       82
      19                                                                 18   Division, Case Number 1:23-cv-00108-LMB-JFA.
           162 e-mails Re: Navy Refund Checks, Bates                     19           My name is Orson Braithwaite
      20      NAVY-ADS-5834 to 837                  83
      21   163 Plaintiff United States of America's                      20   representing Veritext Legal Solutions and I'm the
              Responses to Defendant Google LLC's                        21   videographer. The court reporter is Shari
      22      Second Set of Interrogatories to the
              United States                   99                         22   Broussard from the firm Veritext Legal Solutions.

                                                                                                                         2 (Pages 2 - 5)
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                                                              Page 18                                                            Page 20
       1      A    Yes, that's right.                                    1          MR. PRITCHETT: Objection. Form.
       2      Q    Okay. And so am I understanding                       2          THE WITNESS: Yeah. I don't -- sitting
       3   correctly that the first outreach to anybody at               3   here today I don't have that information of -- of
       4   the Navy recruiting command took place after the              4   who the person was that -- that approved that.
       5   filing of the complaint on January 24th, 2023?                5   BY MS. GOODMAN:
       6          MR. PRITCHETT: Objection. Form.                        6      Q And you did not undertake to figure out
       7          THE WITNESS: Can you repeat that                       7   that information in order to prepare for this
       8   question one more time?                                       8   deposition; is that accurate?
       9   BY MS. GOODMAN:                                               9          MR. PRITCHETT: Objection. Form.
      10      Q    Am I understanding correctly that the                10          THE WITNESS: In order to prepare for
      11   first outreach to anybody at the Navy Recruiting             11   the -- the deposition, I found out the timelines
      12   Command took place after the filing of the                   12   of when the departments were contacted but did not
      13   complaint on January 24th, 2023?                             13   ascertain the names of the people at the
      14      A    Yes.                                                 14   departments who were the ones to approve this.
      15      Q    Okay. Did anybody at the Navy                        15   BY MS. GOODMAN:
      16   Recruiting Command have a choice as to whether to            16      Q Okay. Do you know -- does the Navy
      17   participate in this lawsuit as a party or as an              17   know -- did you -- strike that.
      18   entity on whose behalf the United States is                  18          Did you do anything to prepare to figure
      19   seeking damages?                                             19   out whether the Navy even had a choice as to
      20          MR. PRITCHETT: Objection. Form.                       20   whether to participate in this lawsuit as an
      21          THE WITNESS: So I'm not privy to the                  21   entity on whose behalf the United States is
      22   conversations that happened between DoD and DON,             22   seeking damages?
                                                              Page 19                                                            Page 21
       1   but once DON was contacted, they contacted the OGC            1          MR. PRITCHETT: Objection. Form, asked
       2   at NETC, which is the Navy Education Training                 2   and answered.
       3   Command -- it's the parent command over Navy                  3          THE WITNESS: Yeah. As -- as stated
       4   recruiting -- and that OGC is the one who                     4   earlier, ma'am, the -- the Department of Navy was
       5   contacted me and instructed me to meet with DoJ.              5   contacted and at that point in time, once they
       6   BY MS. GOODMAN:                                               6   contacted the Naval Education Training Command
       7      Q    Okay. So who at -- who, if -- if                      7   OGC, that OGC contacted Navy Recruiting Command
       8   anyone, within the Navy made the decision for the             8   and instructed them to participate. So above the
       9   Navy Recruiting Command to participate as an                  9   NETC OGC, I don't have that information now, but
      10   entity on whose behalf the United States is                  10   could contact the NETC OGC if needed to -- to find
      11   seeking damages in this lawsuit?                             11   that out.
      12          MR. PRITCHETT: Objection. Form.                       12   BY MS. GOODMAN:
      13          THE WITNESS: I don't have that                        13      Q    Okay. Do you know when the Navy -- when
      14   information, but if needed could contact the OGC             14   did the Navy make a decision to participate in
      15   at NETC to pull that string and find out who in              15   this lawsuit --
      16   the DON chain was the one.                                   16          MR. PRITCHETT: Objection.
      17   BY MS. GOODMAN:                                              17   BY MS. GOODMAN:
      18      Q    Okay. Do you know whether -- does the                18      Q    -- an affirmative decision to
      19   Navy know whether the Navy had a choice as to                19   participate in this lawsuit as an entity on whose
      20   whether to participate in this lawsuit as an                 20   behalf the United States is seeking money damages?
      21   agency on whose behalf the United States is                  21          MR. PRITCHETT: Objection. Form,
      22   seeking money damages?                                       22   foundation.

                                                                                                                     6 (Pages 18 - 21)
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                                                           Page 106                                                             Page 108
       1    through Google's Ad Exchange?                              1         ACKNOWLEDGEMENT
                                                                       2          OF DEPONENT
       2       A No, we do not.                                        3
       3          MR. PRITCHETT: Okay. No further                      4
       4    questions.                                                     I, ALLEN OWENS, JR., do hereby acknowledge
                                                                       5
       5          MS. GOODMAN: Okay.                                       I have read and examined the foregoing pages of
       6          VIDEO TECHNICIAN: The time is                        6
       7    12:08 p.m. We're off the record.                               testimony, and the same is a true, correct and
                                                                       7
       8          (Whereupon, at 12:08 p.m., the
                                                                           complete transcription of the testimony given by
       9           deposition of ALLEN OWENS, JR.                      8
      10           was concluded.)                                         me, and any changes or corrections, if any, appear
                                                                       9
      11               * * * * *
                                                                           in the attached errata sheet signed by me.
      12                                                              10
      13                                                              11
                                                                      12
      14
                                                                      13
      15                                                              14
      16                                                              15
      17                                                              16
                                                                      17
      18                                                              18
      19                                                              19
      20                                                                   _________________ ___________________________
                                                                      20   Date         ALLEN OWENS, JR.
      21                                                              21
      22                                                              22   Job No. CS6118347

                                                           Page 107                                                             Page 109
       1           CERTIFICATE OF NOTARY PUBLIC                        1 Katherine Clemons Esq.
       2       I, SHARI R. BROUSSARD, the officer before               2 katherine.clemons@usdoj.gov
       3   whom the foregoing deposition was taken, do hereby          3                  October 2, 2023
       4   certify that the witness whose testimony appears            4 RE: United States, Et Al v. Google, LLC
       5   in the foregoing deposition was duly sworn by me;           5     9/28/2023, Allen Owens, Jr., Navy 30(B)(6) (#6118347)
       6   that the testimony of said witness was taken by me          6     The above-referenced transcript is available for
       7   in stenotype and thereafter reduced to typewriting          7 review.
       8   under my direction; that said deposition is a true          8     Within the applicable timeframe, the witness should
       9   record of the testimony given by said witness;              9 read the testimony to verify its accuracy. If there are
      10   that I am neither counsel for, related to, nor             10 any changes, the witness should note those with the
      11   employed by any of the parties to the action in            11 reason, on the attached Errata Sheet.
      12   which this deposition was taken; and, further,             12     The witness should sign the Acknowledgment of
      13   that I am not a relative or employee of any                13 Deponent and Errata and return to the deposing attorney.
      14   counsel or attorney employed by the parties                14 Copies should be sent to all counsel, and to Veritext at
      15   hereto, nor financially or otherwise interested in         15 erratas-cs@veritext.com
      16   the outcome of this action.                                16
      17                                                              17 Return completed errata within 30 days from
      18                                                              18 receipt of testimony.
                       <%14524,Signature%>                            19 If the witness fails to do so within the time
      19                 SHARI R. BROUSSARD                           20 allotted, the transcript may be used as if signed.
                       Notary Public in and for the                   21
      20                District of Columbia                          22            Yours,
      21                                                              23            Veritext Legal Solutions
           My commission expires:                                     24
      22   August 14, 2025                                            25

                                                                                                              28 (Pages 106 - 109)
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